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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           OCALA DIVISION

RACHELLE BEAUBRUN,             :
KRISTEN GODUTO,                :
KARA GUGGINO,                  :
SARA HOEHN,                    :                    Civil Action File
APRIL JOHNSON,                 :
TERRY NAGY-PHILIPS,            :                    No. 5:19-cv-00615-TJC-PRL
ANN URSINY,                    :
KAREN WATSON,                  :
CARLEANE BERMAN,               :
MIRANDA FLOWERS, and           :
JUDI ALOE,                     :
                               :
     Plaintiffs,               :
                               :
vs.                            :
                               :
UNITED STATES OF AMERICA, :
                               :
     Defendant.                :
______________________________ :

             FIRST AMENDED COMPLAINT FOR DAMAGES

      NOW COMES Rachelle Beaubrun, Kristen Goduto, Kara Guggino, Sara

Hoehn, April Johnson, Terry Nagy-Philips, Ann Ursiny, Karen Watson, Carleane

Berman, Miranda Flowers and Judi Aloe (collectively “Plaintiffs”) and file this

Complaint for Damages against Defendant United States of America (hereafter

“United States” or “Defendant”) on claims of negligence, assault, battery, false

imprisonment, and intentional infliction of emotional distress pursuant to 28

U.S.C. § 1346 et seq. (Federal Torts Claim Act) as follows:
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                                    PARTIES

                                     Plaintiffs

                                        1.

      Rachelle Beaubrun (“Ms. Beaubrun”) is a 48-year-old female who was

remanded into the custody of the Federal Bureau of Prisons (hereafter “BOP”) for

8.5 years on charges of conspiracy to commit wire fraud and identity theft. Ms.

Beaubrun was a non-violent, first time offender who served her prison sentence at

the Coleman Federal Correctional Institution in Sumpter County, Florida (hereafter

“Coleman Federal Prison”) from 2013 to 2019.

                                        2.

      Kristen Goduto (“Ms. Goduto”) is a 36-year old female remanded into the

custody of the BOP for 10 years on charges of drug possession. Ms. Goduto was a

non-violent, first time offender who served her prison sentence at Coleman Federal

Prison from 2015 to 2019 before transfer to the Tallahassee Federal Prison.

                                        3.

      Kara Guggino (“Ms. Guggino”) is a 35-year old female remanded into the

custody of the BOP for 10 years on charges of armed robbery. Ms. Guggino was a

first-time offender who served her prison sentence at FCI Tallahassee from 2012-

2015 and Coleman Federal Prison from 2016 to 2019.




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                                        4.

      Sara Hoehn (“Ms. Hoehn”) is a 30-year old female remanded into the

custody of the BOP for 27 years on charges of conspiracy to possess and distribute

drugs. Ms. Hoehn was a non-violent, first time offender who is currently serving

her prison sentence at Coleman Federal Prison beginning in 2016.

                                        5.

      April Johnson (“Ms. Johnson”) is a 40-year old female remanded into the

custody of the BOP for 8 years on charges of conspiracy to manufacture drugs.

Ms. Johnson was a non-violent, first time offender who served her prison sentence

at Coleman Federal Prison from 2015 to 2019.

                                        6.

      Terry Nagy-Phillips (“Ms. Nagy-Phillips”) is a 49-year old female remanded

into the custody of the BOP for 12 years on charges of conspiracy to commit wire

fraud. Ms. Nagy-Phillips was a non-violent, first time offender who served her

prison sentence at Coleman Federal Prison from 2012 to 2020.

                                        7.

      Ann Ursiny (“Ms. Ursiny”) is a 56-year old female remanded into the

custody of the BOP for 15 years on charges of mortgage fraud. Ms. Ursiny was a

non-violent, first time offender who served her prison sentence at Coleman Federal

Prison from 2012 to 2020.


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                                         8.

      Karen Watson (“Ms. Watson”) is a 37-year old female remanded into the

custody of the BOP for 5 years on charges of bank fraud. Ms. Watson was a non-

violent, first time offender who served her prison sentence at Coleman Federal

Prison from 2017 to 2018.

                                         9.

      Carleane Berman (“Ms. Berman”) is a 26-year-old female remanded into the

custody of the BOP for 3 years on charges of conspiracy to possess and distribute

drugs. Ms. Berman served part of her sentence at Coleman Federal Prison from

2017 to 2018.

                                        10.

      Miranda Flowers (“Ms. Flowers”) is a 35-year-old female remanded into the

custody of the BOP for 2 years on charges of wire fraud. Ms. Flowers was a non-

violent, first time offender serving part of her sentence at Coleman Federal Prison

from 2017 to 2018.

                                        11.

      Judi Aloe (“Ms. Aloe”) is a 60-year-old female remanded into the custody of

the BOP for 4 years on charges of odometer tampering. Ms. Aloe was a non-

violent, first time offender serving part of her sentence at Coleman Federal Prison

from 2016 to 2019.


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                                     Defendant

                                         12.

      Defendant United States of America is a sovereign country subject to

liability and damages for the wrongful conduct of its employees and agencies

under the Federal Torts Claim Act. The United States may be served with process

pursuant to Fed. R. Civ. Pro. 4(i)(1) as follows:

      Ms. Maria Chapa Lopez or designee
      United States Attorney, Middle District of Florida
      400 North Tampa Street, Suite 3200
      Tampa, FL 33602

      Certified mail copy to:

      United States Attorney, Middle District of Florida
      c/o Civil Process Clerk
      Middle District of Florida, Ocala Division
      35 S.E. 1st Avenue, Suite 300
      Ocala, FL 34471

      Mr. William Barr
      Attorney General of the United States
      U.S. Department of Justice
      950 Pennsylvania Avenue, NW
      Washington, D.C. 20530

                           Immune Individual Employees

                                         13.

      The Federal Employee Liability Reform and Tort Compensation Act

(“FELRTCA”) was passed into law in 1988 and extended absolute immunity for

common law torts to all federal employees regardless of whether the conduct at
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issue was discretionary or intentional. But for the immunity protections afforded

federal employees under FELRTCA, the individuals identified below would be

liable to Plaintiffs for monetary damages for their misconduct.

                                        14.

      Wardens Manuel “Manny” Ocasio, R.C. Cheatham, Charles L. Lockett,

Shannon D. Withers and various other associate wardens, executive staff,

department heads, supervisors and prison management (hereafter “Coleman

Management Team”) were grossly negligent in the management, supervision and

retention of male correctional officers at Coleman Federal Prison engaged in the

sexual harassment and abuse of female inmates. As a result of these failures, and

upon information and belief, Warden Ocasio was forced into an early retirement.

                                        15.

      Lieutenants Kajander and David DeCamilla worked for the Special

Investigative Services Unit (“SIS”) assigned to Coleman Federal Prison and were

responsible to investigate any alleged criminal activity involving staff members or

inmates. Lieutenants Kajander and DeCamilla were grossly negligent and derelict

in their duties to manage, supervise and retain male officers at Coleman Federal

Prison engaged in the sexual harassment and abuse of female inmates. As a result

of these failures, and upon information and belief, Lieutenant DeCamilla was

demoted and forced into early retirement.


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                                        16.

      Dr. Ojeda and other professional service providers at Coleman Federal

Prison directly employed by the BOP were negligent in managing, supervising and

retaining male officers at Coleman Federal Prison engaged in the sexual

harassment and abuse of female inmates. As a result of these failures, and upon

information and belief, Dr. Ojeda was disciplined and demoted. (Dr. Ojeda and the

other professional service providers at Coleman Federal Prison are included

hereafter in the “Coleman Management Team”).

                                        17.

      The Office of Internal Affairs (“OIA”), the Office of Inspector General

(“OIG”), the U.S. Department of Justice (“DOJ”) and many other special agents

and supervisory attorneys were responsible for the investigation and prosecution of

male correctional officers sexually abusing female inmates at Coleman Federal

Prison. These agencies failed to timely investigate and prosecute the criminal

activity perpetrated by the male correctional officers identified below. (SIS, OIA,

OIG and DOJ are collectively referred to herein as the “Prison Investigative

Agencies”).

                                        18.

      Officer Palomares served as a correctional officer at Coleman Federal Prison

until his resignation in 2018 stemming from years of unchecked sexual misconduct


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with female inmates. Officer Palomares was a known sexual predator by the

Coleman Management Team and the Prison Investigative Agencies but was

allowed unrestricted and unsupervised access to female inmates. Officer

Palomares engaged in the systematic sexual abuse and harassment of Plaintiffs Ms.

Beaubrun, Ms. Hoehn, Ms. Johnson, Ms. Ursiny, Ms. Watson, Ms. Bearman, Ms.

Flowers and Ms. Aloe as admitted in recent interviews with the Prison

Investigative Agencies. Officer Palomares faced no criminal prosecution for his

admitted sexual abuse of female inmates and was permitted to retire with full

benefits from the BOP.

                                        19.

      Officer Phillips served as a correctional officer at Coleman Federal Prison

until his recent resignation in 2019 stemming from unchecked sexual misconduct

with female inmates. Officer Phillips was a known sexual offender to the Coleman

Management Team and the Prison Investigative Agencies but was allowed

unrestricted and unsupervised access to female inmates. Officer Phillips engaged

in sexual abuse and harassment of Plaintiffs Ms. Goduto, Ms. Guggino, Ms.

Hoehn, Ms. Ursiny, Ms. Bearman and Ms. Flowers as admitted in interviews with

the Prison Investigative Agencies. Officer Phillips faced no criminal prosecution

for his admitted sexual abuse of female inmates and was permitted to retire with

full benefits from the BOP.


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                                        20.

       Officer Campbell served as a correctional officer at Coleman Federal Prison

until his recent resignation in 2019 stemming from unchecked sexual misconduct

with female inmates. Officer Campbell was a known sexual offender to the

Coleman Management Team and the Prison Investigative Agencies but was

allowed unrestricted and unsupervised access to female inmates. Officer Campbell

engaged in sexual abuse and harassment of Plaintiffs Ms. Nagy-Phillips, Ms.

Ursiny and Ms. Aloe as admitted in interviews with the Prison Investigative

Agencies. Officer Campbell faced no criminal prosecution for his admitted sexual

abuse of female inmates and was permitted to retire with full benefits from the

BOP.

                                        21.

       Officer Vann served as a correctional officer at Coleman Federal Prison until

his suspension in 2019 stemming from unchecked sexual misconduct with female

inmates. Officer Vann was a known sexual offender to the Coleman Management

Team and the Prison Investigative Agencies but was allowed unrestricted and

unsupervised access to female inmates. Officer Vann engaged in sexual abuse and

harassment of Plaintiff Ms. Guggino, Ms. Bearman and Ms. Flowers. Officer

Vann faced no criminal prosecution for his sexual abuse of female inmates and

continues to receive full benefits and pay from the BOP.


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                                          22.

        Officer Urdialez served as a correctional officer at FCI Tallahassee until his

 recent resignation in 2019 stemming from unchecked sexual misconduct with

 female inmates. Officer Urdialez was a known sexual offender to the wardens,

 executive staff, department heads, supervisors and prison management at FCI

 Tallahassee (hereafter “FCI Tallahassee Management Team”) and the Prison

 Investigative Agencies but was allowed unrestricted and unsupervised access to

 female inmates. Officer Urdialez engaged in sexual abuse and harassment of

 Plaintiff Ms. Guggino as admitted in interviews with the Prison Investigative

 Agencies. Officer Urdialez faced no criminal prosecution for his admitted sexual

 abuse of female inmates and was permitted to retire with full benefits from the

 BOP.

                           JURISDICTION AND VENUE

                                          23.

        This Court has subject matter jurisdiction over this action pursuant to 28

 U.S.C. § 1346 et seq. (Federal Torts Claim Act) as it involves liability of the

 United States of America reserved to federal courts.

                                          24.

        This Court has personal jurisdiction over Defendant United States of

 America pursuant to 28 U.S.C. § 1346 et seq. (Federal Torts Claim Act).


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                                           25.

       Venue is proper in this Court pursuant to 28 U.S.C. § 1402(b) as the acts and

 omissions set forth herein occurred within this federal judicial district.

                        FEDERAL BUREAU OF PRISONS

                                           26.

       The Federal Bureau of Prisons (“BOP”) is a United States federal law

 enforcement agency responsible for the custody of individuals who have violated

 federal laws. The BOP’s stated mission is to “protect public safety by ensuring

 that federal offenders serve their sentences of imprisonment in facilities that are

 safe, humane, cost efficient and appropriately secure.” The BOP employs over

 35,000 individuals at 122 institutions across the country. The BOP is currently

 responsible for the custody and care of over 13,000 female inmates incarcerated at

 27 separate BOP facilities.

                                           27.

       Despite its stated mission, the BOP has created and maintained a sanctuary

 for male correctional officers to sexually assault and abuse female inmates. The

 sexual abuse at these female prisons is rampant but goes largely unchecked as a

 result of cultural tolerance, orchestrated cover-ups and organizational reprisals of

 inmates who dare to complain or report sexual abuse.




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                                           28.

       This systemic misconduct within the BOP was the subject of a recent U.S.

 House of Representatives investigation for the Committee on Oversight and

 Government Report. The nine-page report concluded that misconduct by prison

 officials is “largely tolerated or ignored altogether” allowing officials to operate

 outside of the rules. The committee reviewed specific cases where “individuals

 deemed responsible for misconduct were shuffled around, commended, awarded,

 promoted or even allowed to retire with a clean record and full benefits before any

 disciplinary action could apply.”

                       PRISON RAPE ELIMINATION ACT

                                           29.

       The Prison Rape Elimination Act (“PREA”) was signed into law by

 President Bush in 2003 and applies to all federal facilities managed by the BOP.

 PREA’s goal is to deter the sexual assault of prisoners and to curb prison rape

 through a zero-tolerance policy.

                                           30.

       Because the female inmates are fully dependent on the correctional officers

 for basic necessities and privileges, all sexual contact, with or without the consent

 of the inmate, is classified as abuse. Sexual abuse and sexual harassment are

 defined in section 115.6 of the Act as follows:


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        Sexual abuse of an inmate, detainee, or resident by a staff member,
 contractor, or volunteer includes any of the following acts, with or without consent
 of the inmate, detainee, or resident:

       (1) Contact between the penis and the vulva or the penis and the anus,
 including penetration, however slight;

       (2) Contact between the mouth and the penis, vulva, or anus;

       (3) Contact between the mouth and any body part where the staff member,
 contractor, or volunteer has the intent to abuse, arouse, or gratify sexual desire;

        (4) Penetration of the anal or genital opening, however slight, by a hand,
 finger, object, or other instrument, that is unrelated to official duties or where the
 staff member, contractor, or volunteer has the intent to abuse, arouse, or gratify
 sexual desire;

        (5) Any other intentional contact, either directly or through the clothing, of
 or with the genitalia, anus, groin, breast, inner thigh, or the buttocks, that is
 unrelated to official duties or where the staff member, contractor, or volunteer has
 the intent to abuse, arouse, or gratify sexual desire;

       (6) Any attempt, threat, or request by a staff member, contractor, or
 volunteer to engage in the activities described in paragraphs (1)-(5) of this
 section;

       (7) Any display by a staff member, contractor, or volunteer of his or her
 uncovered genitalia, buttocks, or breast in the presence of an inmate, detainee, or
 resident, and

       (8) Voyeurism by a staff member, contractor, or volunteer.

 Sexual harassment includes

       (1) Repeated and unwelcome sexual advances, requests for sexual favors, or
 verbal comments, gestures, or actions of a derogatory or offensive sexual nature
 by one inmate, detainee, or resident directed toward another; and

       (2) Repeated verbal comments or gestures of a sexual nature to an inmate,
 detainee, or resident by a staff member, contractor, or volunteer, including


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 demeaning references to gender, sexually suggestive or derogatory comments
 about body or clothing, or obscene language or gestures.

                                          31.

       As mandated by PREA, the BOP conducts annual PREA audits (“Audits”) at

 each federal prison facility. The annual Audits for Coleman Federal Prison are

 materially incomplete as the auditors failed to interview any female inmates that

 were involved in or witness to PREA violations.

                                          32.

       The reports suggest that these female inmates were not available for

 interview as they had been transferred to another prison facility. The failure to

 interview victims of PREA violations undermines the Audit results and

 incentivizes Coleman Federal Prison to transfer victims of sexual abuse rather than

 cooperate with a thorough PREA investigation. By transferring victims of sexual

 abuse, Coleman Federal Prison shields itself from legitimate investigation and

 suppresses complaints by punishing the victims.

                                          33.

       The Coleman Federal Prison transfer policy also demonstrates the BOP’s

 failure to put the rights of the victims ahead of its own economic interest. Before

 any BOP employee can be punished, transferred or reassigned for sexual abuse,

 administrators must carefully navigate the collective bargaining agreement. In

 almost every instance, the collective bargaining rights of the employees outweigh

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 the rights of the victim and it is the victim that receives the full weight of

 punishment by transfer to another facility or other punitive measures. In no other

 context are the rights of the sexually abused subordinated to the economic interests

 of the institution and the collective bargaining rights of the abusers.

                           COLEMAN FEDERAL PRISON

                                              34.

        The Coleman Federal Prison located in Sumter County, Florida houses

 approximately 6,000 federal inmates in both low and medium security facilities.

 The campus includes a minimum-security satellite prison camp housing

 approximately 500 female inmates (“Coleman Prison Camp”). Coleman Federal

 Prison is operated by the BOP through the United States Department of Justice.

                                              35.

        Female inmates at the Coleman Prison Camp are segregated into distinct

 housing units with dormitory style cubicles for each inmate. The Coleman Prison

 Camp is operated under a work/camp model where non-violent inmates are

 afforded work privileges within the Coleman complex. Inmates are subject to

 daily “counts” but are otherwise free to move around the Coleman Prison Camp

 subject to specified rules and regulations.1


 1
  This Complaint for Damages also encompasses instances of abuse at FCI Tallahassee, Florida, a
 low security federal prison for female inmates operated by the BOP which utilized the same
 model, systems, procedures and punishments as Coleman.
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                                           36.

       The Coleman Prison Camp employs correctional officers, facilities staff and

 management to oversee and operate the prison facility. The correctional officers

 are trained, managed, overseen and paid by the BOP through the United States

 Department of Justice serving “investigative or law enforcement” functions. The

 correctional officers are federal employees subjecting the United States of America

 to liability for improper actions committed within the course and scope of their

 employment.

                                           37.

       The Coleman Prison Camp and FCI Tallahassee employed no less than five

 (5) male correctional officers that sexually abused and harassed Plaintiffs. These

 individuals included Officers Palomares, Campbell, Phillips, Vann and Urdialez

 (collectively “Offending Officers”).

                                           38.

       The Offending Officers were known sexual predators to the Coleman

 Management Team and the Prison Investigative Agencies. The Offending Officers

 had been investigated on numerous occasions for sex crimes against female

 inmates. The Coleman Management Team and Prison Investigative Agencies were

 well aware of the female inmates’ reluctance to come forward with information on

 sexual abuse for fear of reprisal, including, but not limited to, transfer to a different


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 facility, disciplinary segregation, loss of early release rights, detrimental write-ups

 loss of work privileges, and interference with vocational skills programs.

                                           39.

       In fact, the Coleman Management Team instituted a strict policy whereby

 inmates complaining of mistreatment by prison officials were automatically

 removed to a local county detention center. This relocation policy intentionally

 suppressed complaints of misconduct as the county facilities are higher levels of

 security and do not permit the work details or vocational training offered at the

 Coleman Prison Camp.

                                           40.

       Despite the known issues of abuse, the Coleman Prison Camp granted the

 Offending Officers unrestricted and unsupervised contact with Plaintiffs including

 work details, bed checks, visitation, etc… which granted them one on one access.

 The Offending Officers used their position of authority to threaten and coerce

 Plaintiffs into engaging in sexual activities and keep the abuse quiet for fear of

 immediate retaliation. The Offending Officers also used their access to personal

 history files, telephone call recordings, and personal emails giving them additional

 leverage to extract sexual favors and threaten the safety of Plaintiffs.




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                              ACCESS TO COUNSEL

                                          41.

       Coleman Prison Camp maintains a system of checks and balances that

 makes access to competent counsel virtually impossible for female inmates that are

 victims of sexual abuse.

                                          42.

       First, the Offending Officers threatened Plaintiffs with direct and immediate

 retaliation in the event Plaintiffs reported any instances of sexual abuse including

 time in the Special Housing Unit (“SHU”), loss of privileges, removal from work

 detail, and write “ups.” The Offending Officers reviewed Plaintiffs’ confidential

 prison files, emails and recorded telephone conversations to intimidate Plaintiffs as

 part of their psychological coercion. Additionally, Plaintiffs observed many

 examples of punishments handed out to other inmates that challenged or reported

 abuse by the Offending Officers. Because of the dependency of the officer/inmate

 relationship for basic necessities and privileges as identified in PREA, any threats

 of retaliation were magnified and Plaintiffs were unable to safely report the sexual

 abuse to potential legal counsel.

                                          43.

       Second, the Prison Management Team introduced a policy of removal of the

 female inmates to a medium security county prison for any victim reporting


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 allegations of sexual abuse. Plaintiffs observed this policy enforced by the Prison

 Management Team on countless occasions making reporting instances of abuse to

 any Coleman employee or counselor a significant safety risk.

                                           44.

       Third, the Prison Management Team monitored all of Plaintiffs’ telephone

 and email communications with their friends and families and any mention of

 sexual abuse was flagged and immediately stamped out. On several occasions,

 Plaintiffs were confronted by the Offending Officers who said they were aware of

 communications to family members regarding issues of sexual misconduct at

 Coleman and were threatened never to mention those problems again or there

 would be “serious” consequences.

                                           45.

       Fourth, the Prison Management Team refused to give Plaintiffs access to a

 secure telephone line to discuss their legal rights with competent legal counsel

 requiring Plaintiffs to use the “open” lines for initial attorney/client interviews that

 were monitored by the Offending Officers.

                                           46.

       Unable to report instances of sexual abuse to Coleman staff for fear of

 immediate retaliation, unable to discuss instances of sexual abuse with

 family/friends over email or telephone that were constantly monitored, and unable


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 to utilize a secure phone line to speak with potential counsel, Plaintiffs were

 effectively cut off from the outside world and unable to procure legal

 representation to protect their rights.

                                           47.

       Through a series of chance encounters, impromptu meetings, and cryptic

 messaging, the undersigned learned of a group of female inmates at Coleman

 Prison Camp that were in desperate need of legal assistance. Undersigned counsel

 arranged for visitation on November 10, 2018 during regularly scheduled visitation

 hours but had to have a visitation form approved/signed by a staff counselor before

 gaining access to the facility.

                                           48.

       Visitation on November 10, 2018 was scheduled to begin at 8:30 am,

 however, the Coleman Management Team initiated an emergency “fog” delay.

 Despite the absence of any “fog”, the visitation was delayed for over two hours

 limiting counsel’s opportunity to conduct full interviews. Once inside the

 Coleman Prison Camp, the undersigned was forced to meet with Plaintiffs one at a

 time in a small, storage closet.

                                           49.

       With counsel engaged and the limited protection of a larger group, Plaintiffs

 courageously came forward to tell their story in hopes of facilitating change at


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 Coleman Prison Camp and submitted a demand letter to the BOP on March 15,

 2019 in compliance with the Federal Tort Claims Act. A true and accurate copy of

 the March 15, 2019 demand letter is attached hereto as Exhibit “A.”2

                                              50.

        Even after formally engaging counsel, the Coleman Management Team

 made communication difficult by reviewing attorney client privileged emails,

 listening to attorney client privileged phone calls, refusing to deliver attorney client

 privileged letters and refusing to allow for secure counsel phone calls by insisting

 that Coleman staff be present in the rooms where the calls took place.

                                RACHELLE BEAUBRUN

                                              51.

        Ms. Beaubrun arrived at Coleman Prison Camp in September 2013 after

 serving parts of her prison sentence at three (3) other institutions. Shortly after her

 arrival, Officer Palomares began sexually harassing Ms. Beaubrun.

                                              52.

        Palomares began making comments to her about her body and described sex

 acts he wanted her to perform. Palomares then moved into grabbing and fondling

 her for brief moments when he was able to find her alone in certain areas of the



 2
  While not part of the original March 15, 2019 demand letter, Plaintiffs Ms. Berman, Ms.
 Flowers and Ms. Aloe also filed notices to the BOP which are included in Exhibit A.
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 compound that were not under surveillance. Palomares would threaten her by

 saying that he could make her time at Coleman Prison Camp “easy or hard”

 depending on how she responded to his advances.

                                          53.

       Ms. Beaubrun tried to avoid Palomares as much as possible and tried never

 to be alone around him. She was able to keep her distance for several months until

 2014 when Palomares was on duty for visitation. As Ms. Beaubron was being

 checked back in from visitation, Palomares ordered her into the “search room”

 adjacent to the visitation area.

                                          54.

       Once inside, he closed all of the doors and began kissing her mouth and

 neck. He then lifted up her shirt and began fondling her breasts. He put his hands

 down her pants and put his fingers inside her vagina. After several minutes he

 pulled his penis out and told Ms. Beaubrun to “suck my dick.” She then proceeded

 to give Palomares oral sex and as he was about to ejaculate, she tried to pull her

 mouth away from his penis. He forced her head down on his penis and ejaculated

 into her mouth forcing her to swallow his semen.

                                          55.

       This incident terrified Ms. Beaubrun and she managed to stay clear of

 Palomares for several years. Then, on two separate occasions in 2016 and 2017,


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 Palomares came to her room after the 10:00 pm count and demanded she follow

 him to the staff rest room between F1 and F2. He pushed her inside the rest room

 and told her not to make a sound. He then touched her breasts, inserted his fingers

 into her vagina and demanded that she perform oral sex on him. Ms. Beaubrun

 reluctantly followed his instructions and he once again ejaculated in her mouth

 forcing her to swallow his semen. At no time did Ms. Beaubrun consent to giving

 Palomares oral sex or give him permission to touch her.

                                         56.

          Ms. Beaubrun did not report these incidents immediately because it is

 common knowledge among the inmate population that upon reporting sexual abuse

 the victim is removed from Coleman Prison Camp and transferred to the county

 jail, a higher security prison with no educational or work opportunities. Ms.

 Beaubrun witnessed other victims of sexual abuse being transferred to the county

 jail and feared if she reported the instances of abuse with Officer Palomores she

 would receive the same punishment.

                                         57.

        As a result of these sexual assaults and harassment from Officer Palomares,

 Ms. Beaubron has suffered extensive psychological trauma, depression, pain and

 suffering, physical trauma and is in constant fear of being trapped alone with




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 another abusive man. Ms. Beaubron demands compensation from the United

 States of America for this abuse in an amount to be determined at trial.

                                KRISTEN GODUTO

                                          58.

       Ms. Goduto arrived at Coleman Prison Camp in August 2015. Shortly after

 her arrival, she began working in general maintenance under the direction and

 supervision of Officer Phillips. Ms. Goduto was approached by another inmate at

 the direction of Officer Phillips to gage her interest in a sexual relationship. She

 declined and Officer Phillips began speaking directly to Ms. Goduto.

                                          59.

       At first, he spoke generally about sex saying that it must be really hard for

 her to go without sex for so long and that he could help her with her sexual urges.

 Towards the end of 2015, his sexual advances intensified and he forced Ms.

 Goduto to show him her breasts behind his office at facilities by threatening to kick

 her out of the maintenance group unless she showed him whether they were “real

 of fake.” He also mentioned on several occasions that he would “listen” to Ms.

 Goduto’s phone calls and repeated information he learned from listening to these

 private phone calls.




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                                          60.

       Thereafter, Officer Phillips began stalking Ms. Goduto by showing up in her

 unit unannounced and pushing his way into her actual room. Officer Phillips

 brought her small gifts such as lotions and face creams always saying that Ms.

 Goduto would “pay him back.” On one occasion while she was exercising, Officer

 Phillips demanded that she get in his truck and drove her to the edge of the

 campus. He pulled out his penis and asked Ms. Goduto to “suck his dick.” When

 another vehicle approached, he put his pants back on and drove her back to the

 main unit.

                                          61.

       In 2016, the maintenance team was painting the parking lot at the low

 facility when Officer Phillips against asked Ms. Goduto to get into his truck. This

 time, he drove her to the back of the facility where a semi-truck was parked. He

 ordered her to get out and go inside. He forced her onto a mattress in the back of

 the truck and told her to get undressed. He took all of his clothes off and pulled

 out a condom placing it on his penis. He removed Ms. Goduto’s bra and began

 kissing on her breasts. He grabbed her genital area inserting his fingers into her

 vagina. When he tried to remove her panties, she told him she was on her “period”

 and begged him not to rape her. Officer Phillips stopped but insisted she start

 taking birth control.


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                                          62.

       In 2017, Ms. Goduto was approached by Dr. Ojeda and Lieutenant

 DeCamilla about wearing a wire and trying to entrap some of the male officers at

 Coleman Prison Camp that were sexually assaulting the female inmates. Ms.

 Goduto was scared and did understand or trust the intentions of the Coleman

 Management Team but was offered “time off” if the operation was successful. She

 reluctantly agreed to participate but was later informed that the FBI did not

 approve the operation.

                                          63.

       Ms. Goduto did not consent or give permission to Officer Phillips to touch

 her or engage in any sexual activity. Ms. Goduto did not fully report these

 incidents of abuse for fear of reprisal. As a result of these sexual assaults and

 harassment, Ms. Goduto has suffered extensive psychological trauma, physical

 trauma, depression, pain and suffering and is in constant fear of being trapped

 alone with another abusive officer. Ms. Goduto demands compensation from the

 United States of America for this abuse in an amount to be determined at trial.

                                 KARA GUGGINO

                                          64.

       Ms. Guggino was initially sent to the federal prison in Tallahassee, Florida

 known as “FCI Tallahassee” beginning in 2012. Several years into her sentence,


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 Ms. Guggino started a job in the kitchen at FCI Tallahassee. After a few months,

 she noticed that a Lieutenant Urdialez began following her to work in the early

 morning hours. Weeks later, Urdialez started making comments to her about her

 private phone calls and emails with her family and admitted he had been “checking

 up” on her.

                                          65.

       One morning while Ms. Guggino was walking to work, Urdialez noticed that

 she was sick and offered to walk her to the medical office so he could get her out

 of work for the day. While at the medical office, Urdialez told her he would get her

 out of the kitchen job and she could work with him as an orderly. Urdialez told her

 there was a long wait list for the job but that he would move her to the top.

                                          66.

       Several days later, Urdialez barged into Ms. Guggino’s room without

 knocking while she was getting dressed and informed her he had been in an email

 battle with the captain’s secretary, Daisy Solado, about the open position as his

 orderly. Urdialez showed Ms. Guggino the emails and said she could start working

 for him the next week. Ms. Guggino started immediately working as Urdialez’s

 night orderly, after the 9:00 pm count along with another inmate, Kathy Navarro.




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                                          67.

       After several weeks at the new job, Urdialez began making sexual comments

 about things he would like to do to Ms. Guggino and referred to her as “forbidden

 fruit.” One day he called all of the day and night orderlies into his office and

 explained that one of them had leaked confidential information and he had to

 interview each one of them individually. He called Ms. Guggino into his office for

 the interview and when she arrived the lights were turned off. Urdialez asked Ms.

 Guggino if she know why she had been called to his office. When she answered

 no, Urdialez walked over to Ms. Guggino and began kissing her. He then put his

 hands under her shirt and started fondling her breasts. He reached his hand into

 her pants and inserted his fingers into her vagina. When he removed his fingers, he

 licked them and told Ms. Guggino not to tell anyone what happened. He went on

 to say that he could make her life “easy or hard” depending on her cooperation

 with his sexual advances and instructed her not to wear panties to work. This first

 sexual encounter ended with Urdialez threatening Ms. Guggino “not to do or say

 anything to make me mad.”

                                          68.

       Several days after this first encounter, Urdialez ushered Ms. Guggino

 upstairs to a conference room above his office. When they walked in, Urdialez

 spread a blanket on the floor and ordered Ms. Guggino to undress. After removing


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 her clothes, he instructed her to lie down on the blanket and spread her legs. He

 then proceeded to perform oral sex on Ms. Guggino. After several minutes his

 name was called over his prison radio and he instructed Ms. Guggino not to leave

 the room while he was gone. Before leaving the room, Urdialez pulled out his

 handcuffs and attempted to handcuff her to the table but could not see in the dark.

 He then left the room carrying Ms. Guggino’s clothes and locked the door behind

 him. Ms. Guggino waited naked in the conference room for his return. When

 Urdialez finally returned, he removed his belt and pants, got on top of Ms.

 Guggino and raped her without the use of a condom.

                                         69.

       Urdialez then began bringing food, treats, alcohol and sleeping pills for both

 Ms. Guggino and Ms. Navarro in exchange for the sexual abuse of Ms. Guggino

 and the silence of Ms. Navarro. Urdialez began putting money on Ms. Guggino’s

 books and sending her emails under the name of “Ronald Ernst.” After these

 initial sexual assaults, Urdialez forced Ms. Guggino to engage in sexual intercourse

 or oral sex at least one time per week for several years while she worked as his

 nighttime orderly.

                                         70.

       On most occasions, Urdialez asked Ms. Guggino to remove her pants and

 bend over items such as tables, chairs etc.. so he could rape her from behind. On


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 one Halloween night, Urzialez took Ms. Guggino to an upstairs room in G-Unit.

 Urdialez removed Ms. Guggino’s clothes and demanded that she bend over a table.

 He then raped her from behind and on this particular occasion ejaculated into her

 vagina. When Ms. Guggino went to the bathroom to clean up, she noticed semen

 in her panties dripping out of her vagina. Urdialez barged into the women’s

 bathroom and observed Ms. Guggino cleaning semen out of her vagina. The next

 day, Urdialez showed up in Ms. Guggino’s unit and saw her and her roommate,

 Inmate Leya Stapleton, across the compound. He ran to meet them and handed

 Ms. Guggino the “morning after pill” right in front of Inmate Stapleton.

                                         71.

       Urdialez became increasingly more controlling of Ms. Guggino and her

 movements within the prison. He would show up at odd times, odd places and

 even on his days off to monitor her behavior and to make sure she did not disclose

 his misconduct to anyone. One night in his office, Urdialez showed Ms. Guggino

 her home residence on Google Maps. Urdialez reminded Ms. Guggino not to tell

 anyone about their “relationship” and even suggested he would buy a house in her

 parents’ neighborhood to be with her. The rape became more violent and Urdialez

 attempted on several occasions to handcuff Ms. Guggino to various items. Ms.

 Guggino became terrified by the abuse and believed Urdialez would physically

 harm her if she upset him in any way. Urdialez also began reading her personal


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 emails and listening to her phone calls and became enraged when he realized she

 had communications with other men.

                                         72.

       When FCI Tallahassee administrators heard rumors about Ms. Guggino and

 Urdialez, they punished Ms. Guggino instead of terminating Urdialez’

 employment. Prison officials placed Ms. Guggino into the special housing unit

 (“SHU”) as punishment for the alleged involvement with Urdialez on three

 separate occasions. While in the SHU, Ms. Guggino was under 23 hour lock down

 with no phone, no email and no work privileges. Ms. Guggino was questioned

 repeatedly about her “relationship” with Urdialez but was too scared to report the

 abuse as Urdialez was sending her cards and emails while in the SHU under the

 name of “Ronald Ernst” warning her “not to make him mad” and she feared further

 retaliation from prison officials. Ms. Guggino spent months in and out of SHU.

                                         73.

       Ms. Guggino was eventually given a new job and Urdialez was moved to an

 adjacent facility on the complex for a short time. However, FCI Tallahassee

 management allowed Urdialez to move back to the FCI Tallahassee Woman’s

 Camp and he immediately continued his abuse of Ms. Guggino. Undeterred by the

 privacy afforded him when Ms. Gugginio served as his night orderly, Urdialez

 began following Ms. Guggino around the compound and her unit. When the


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 opportunity presented, he would force Ms. Guggino into stair wells or closets to

 continue the sexual abuse and rape.

                                          74.

       Ms. Guggino was eventually moved from FCI Tallahassee to a facility in

 Alabama. Prior to her departure, Urdialez showed up on his off day in plain

 clothes and had the on-duty officer call her to the front of her unit. The on-duty

 female officer locked the doors to both sides of the units and the door to the

 officer’s station shutting them both inside. Urdialez gave Ms. Guggino three

 magazines in a white envelope. Urdialez reminded Ms. Guggino not to tell anyone

 about their “relationship” or she would be in trouble and lose any time off

 privileges she had earned while in prison. Urdialez let Ms. Guggino know that she

 was his and he would find a way for them to be together.

                                          75.

       When she arrived in Alabama, Ms. Guggino discovered that most of her

 personal property had been confiscated including clothes, shoes, a bible and a

 personal journal where she had written about the sexual abuse of Urdialez. Ms.

 Guggino took this as a threat not to mention anything about Urdialez. Immediately

 upon her arrival in Alabama, the psychology staff began harassing Ms. Guggino,

 making her feel as if she was being punished by the change in prison facilities and

 shuttling her in and out of the SHU. Ms. Guggino continued to lie about the abuse


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 for her own protection. Finally, representatives from OIG took over the

 interrogations and threatened Ms. Guggino to add five years to her sentence if she

 did not tell them about her “relationship” with Urdialez. As Urdialez told Ms.

 Guggino that he had “friends” at the OIG, she provided only limited information to

 try and stay out of trouble.

                                          76.

       After her meeting with OIG, she was moved yet again to Coleman Prison

 Camp in April 2018. She began working landscaping with Officer Vann. Officer

 Vann began immediately making sexual comments saying he wanted to “fuck” Ms.

 Guggino and that she looked like the type of woman that liked to have a good time.

 On several occasions Vann followed Ms. Guggino into the tool room grabbing her

 breasts, buttocks and genital area penetrating her vagina with his fingers.

                                          77.

       On several occasions, Vann picked Ms. Guggino up from a job site in his

 vehicle, grabbed her hand and placed it onto his penis. When other officers

 became aware that Ms. Guggino was refusing Vann’s sex attempts, they because

 hostile with her. Both Officer Phillips and Officer Cladder verbally abused Ms.

 Guggino by calling her a “bitch” for not “playing ball” and removed her from the

 landscaping job. Unbelievably, Urdialez is still employed at FCI Tallahassee and

 recently drove a van to Coleman Prison Camp in some sort of prisoner transfer.


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 Ms. Guggino observed him from a distance but ran the other way when he started

 walking towards her.

                                          78.

       Ms. Guggino did not consent or give permission to Lieutenant Urdialez or

 Officer Vann to touch her or engage in any sexual activity. Ms. Guggino did not

 fully report these incidents of abuse for fear of time being added to her sentence as

 threatened by Lieutenant Urdialez. As a result of these sexual assaults and

 harassment, Ms. Guggino has suffered extensive psychological trauma, physical

 trauma, depression, pain and suffering and is in constant fear of being trapped

 along with another abusive officer. Ms. Guggino demands compensation from the

 United States of America for this abuse in an amount to be determined at trial.

                                   SARA HOEHN

                                          79.

       Ms. Hoehn arrived at Coleman Prison Camp in October 2016. Within a few

 months of her arrival, Officer Palomares began making sexually explicit comments

 to Ms. Hoehn asking for sexual favors and discussing various sexual acts inside the

 housing unit living quarters after the 4:00 pm count.

                                          80.

       On one occasion, Palomares suddenly appeared in Ms. Hoehn’s cubicle,

 walked up behind her and pressed his pelvis into her behind. He began kissing her


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 behind the ear while rubbing his hands over her breasts and her genital area

 penetrating her vagina with his fingers. Ms. Hoehn froze in fear. He moved away

 when he heard someone walking down the hallway and told Ms. Hoehn not to be

 scared of him and not to tell anyone what happened or she would get “locked up.”

 Ms. Hoehn believed that Palomares had the authority to lock her up.

                                         81.

       Several weeks later, Palomares again appeared in Ms. Hoehn’s room while

 she was folding clothes on the floor. He squatted down behind her and began

 rubbing his hands over her breasts and genital area penetrating her vagina with his

 fingers. Ms. Hoehn asked him to stop but he refused saying “I will bring you

 whatever you want if you let me have this.” Ms. Hoehn tried to push him away but

 he would not stop until he heard someone walking down the hallway. These

 surprise visits in her cubicle continued for several months until Officer Palomares

 was finally suspended from the Coleman Prison Camp.

                                         82.

       In 2018, Palomares called Ms. Hoehn and another inmate to the camp office

 to fix an air conditioning unit. Palomares took the inmates to a secure area and

 locked himself and Ms. Hoehn in one room leaving the other inmate in a separate

 area. Palomares told Ms. Hoehn to stop being stubborn and started to touch her

 breasts and genital area penetrating her vagina with his fingers. The other inmate


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 began knocking on the door when she heard the struggle and Palomares was forced

 to stop.

                                          83.

       Ms. Hoehn was also the target of sexual assault from Officer Phillips.

 Phillips began making sexually explicit comments to Ms. Hoehn including

 repeatedly asking her for sexual favors. The comments quickly escalated into

 sexual abuse as Phillips would approach Ms. Hoehn from behind, grab her around

 the waist and press his penis into her rear end. He would then grab the front of her

 pockets and push her against walls, chairs, couches or anything else that might be

 around. He would then press his hips into her rear end while grabbing her breasts

 and would touch her genital area penetrating her vagina with his fingers. On one

 occasion while Ms. Hoehn was seated on a couch, Phillips walked out of the

 bathroom with his penis out of his pants and headed straight for her. Ms. Hoehn

 ran outside and got on her lawnmower.

                                          84.

       Ms. Hoehn did not give permission or consent to Officers Palomares or

 Phillips to touch her or engage in any sexual activity. As a result of these sexual

 assaults and harassment, Ms. Hoehn has suffered extensive psychological trauma,

 physical trauma, depression, pain and suffering and is in constant fear of being

 trapped alone with another abusive officer. Ms. Hoehn demands compensation


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 from the United States of America for this abuse in an amount to be determined at

 trial.

                                  APRIL JOHNSON

                                           85.

          Ms. Johnson arrived at Coleman Prison Camp in 2015 and was enrolled in

 the plumbing apprenticeship program. Starting in 2016, Officer Palomares began

 harassing, sexually abusing, and fondling Ms. Johnson without her consent or

 permission.

                                           86.

          Officer Palomares used his position as housing coordinator and ordered Ms.

 Johnson to work the “shed” on a regular basis. Palomares was aware that Ms.

 Johnson knew of his ongoing sexual relationship with her cellmate and he would

 routinely ask Ms. Johnson to join them in a “threesome.” Palomares would walk

 by Ms. Johnson’s cubicle and shake his work keys at her insinuating that he

 wanted to meet Ms. Johnson in the work shed for sex (as he explicitly told her on

 numerous occasions).

                                           87.

          Palomares would enter Ms. Johnson’s cell and interact with her and her

 cellmate. Ms. Johnson would act like she was asleep when he entered as she was

 scared of him. On one occasion, Palomares moved over to Ms. Johnson’s bunk,


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 lifted the covers and began rubbing her genital area penetrating her vagina with his

 fingers in an attempt to wake her up for sex. On another occasion, Palomares

 entered her cubicle and grabbed Ms. Johnson’s hips thrusting himself against her

 buttock.

                                         88.

       Ms. Johnson did not report these incidents for fear of reprisal and because

 she did not want to lose her plumbing apprenticeship. As a result of these sexual

 assaults and harassment, Ms. Johnson has suffered extensive psychological trauma,

 physical trauma, depression, and pain and suffering. Ms. Johnson demands

 compensation from the United States of America for this abuse in an amount to be

 determined at trial.

                            TERRI NAGY-PHILLIPS

                                         89.

       Ms. Phillips arrived at Coleman Prison Camp in December 2012 serving the

 remainder of her sentence. She enrolled in the electrician apprenticeship program

 taking advantage of the educational opportunities being offered.

                                         90.

       Beginning in 2017, Officer Campbell took an interest in Ms. Phillips and

 began trying to engage her in personal conversations. He sent emails to her prison

 account and after review of her personal file, discovered that they were both from


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 Michigan. He used this and other information regarding Ms. Phillips to try and

 gain her trust and manipulate her into believing he controlled her time at Coleman

 Prison Camp.

                                          91.

       In December 2017, Ms. Phillips was ordered to the guard station after hours

 (“Message Center”) by Officer Palomares to inspect a light switch malfunction.

 While working on the light switch, Officer Campbell came up from behind and

 very firmly pressed his full body, crotch first, against the backside of Ms. Phillips

 pinning her between the wall and a trash can. Ms. Phillips was physically unable

 to struggle or push back as Campbell overpowered her. After several hard thrusts

 into her backside, Campbell walked away leaving Ms. Phillips to finish her work.

 This incident took place in an area of Coleman Prison Camp where there is no

 video surveillance.

                                          92.

       On New Year’s Eve 2017, Ms. Phillips was instructed to obtain a microwave

 for a party that was to occur later that day. The microwave was located in the

 electrical work shed. Campbell insisted that he escort Ms. Phillips to the electrical

 work shed. Campbell followed Ms. Phillips into the electrical work shed, closed

 the door behind them and ordered Ms. Phillips to take a seat on the couch.

 Campbell then instructed Ms. Phillips to take off her sweatshirt as he began


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 removing her pants. Campbell kissed Ms. Phillips, laid her backwards on the

 couch, performed oral sex on her and then raped her. Campbell said he knew Ms.

 Phillips could not get pregnant by reading her medical file and then proceeded to

 ejaculate into her vagina. Campbell grabbed a role of paper towels and ordered

 Ms. Phillips to “clean up” and throw all of the evidence in the trash. After they left

 the electrical work shed, Ms. Phillips carried the microwave while Officer

 Campbell carried her sweatshirt as if nothing had occurred.

                                          93.

       Ms. Phillips was concerned about reporting the rape for fear of reprisal

 including being removed to a county facility destroying her electrician

 apprenticeship. Ms. Phillips did not consent or give permission to Campbell to

 engage in sexual activity. As a result of the sexual abuse, Ms. Phillips has suffered

 extensive psychological trauma, physical trauma, depression, pain and suffering

 and is fearful of being caught alone by one of the correctional officers again. Ms.

 Phillips demands compensation from the United States of America for this abuse in

 an amount to be determined at trial.

                                    ANN URSINY

                                          94.

       Ms. Ursiny arrived at Coleman Prison Camp in July 2012. Within a few

 months of her arrival, Officer Palomares began making sexually explicit comments


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 to Ms. Ursiny asking for sexual favors and discussing various sexual acts. Ms.

 Ursiny repeatedly told Palomares she was not interested but he persisted telling her

 one day “I will have you.”

                                         95.

       In May 2014, Ms. Ursiny was visited by her husband. When the visit ended,

 Ms. Ursiny followed procedure and walked to the bathroom located in the corner

 that can be accessed from the compound. Palomares was checking the inmates out

 from visitation on this particular day. Ms. Ursiny entered the bathroom with

 another inmate and waited to be checked out. Palomares instructed the other

 inmate to leave the bathroom saying “only one inmate at a time.” Palomares then

 locked all access to the bathroom leaving him and Ms. Ursiny alone. He then told

 Ms. Ursiny “come on party girl you know what to do.” Ms. Ursiny froze in fear as

 Palomares began patting her down. He started at her neck and began working his

 way down her body. He then began squeezing and fondling her breasts for several

 minutes. He stopped only to tell her “your tits feel good party girl.” He then

 started rubbing her stomach and worked his way down to her pelvis. He started

 lightly rubbing her vagina before squeezing her butt. He worked his way down her

 legs and then returned to rubbing her genital area penetrating her vagina with his

 fingers. After several minutes he stopped and said “I told you I would get you.”




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                                          96.

       This incident traumatized Ms. Ursiny to the point she was terrified to have

 any additional visitors for fear of being assaulted after visitation was completed.

 For over four years, she would not allow any family members or friends to visit her

 at Coleman Prison Camp.

                                          97.

       Ms. Ursiny was also the target of sexual harassment from Officers Campbell

 and Phillips. Phillips began making sexually explicit comments to Ms. Ursiny and

 exposed his penis to her on one occasion. Campbell constantly asked Ms. Ursiny

 for sexual favors saying she was “number three on the list of inmates he wanted to

 fuck.” Campbell would listen to her telephone calls and harass her about personal

 issues, such as her impending divorce.

                                          98.

       Ms. Ursiny did not give any of the officers at Coleman Prison Camp

 permission or consent to touch her or engage in any sexual activity. In 2017, Ms.

 Ursiny began talking to Lieutenant DeCamilla about the ongoing sexual abuse at

 Coleman Prison Camp. DeCamilla encouraged Ms. Ursiny to participate in a

 scheme to trap offending officers by wearing a wire. Ms. Ursiny was scared and

 did not trust the intentions of the Coleman Management Team. She reluctantly

 agreed to participate but was later informed that the FBI did not approve the


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 operation. DeCamilla wrote an email to her prosecutor detailing the sexual abuse

 endured by Ms. Ursiny in an attempt to get her sentence reduced.

                                          99.

       As a result of these persistent sexual assaults and harassment, Ms. Ursiny

 has suffered extensive psychological trauma, physical trauma, depression, pain and

 suffering and is fearful of being caught alone by one of the correctional officers.

 Ms. Ursiny demands compensation from the United States of America for this

 abuse in an amount to be determined at trial.

                                 KAREN WATSON

                                          100.

       Ms. Watson arrived at Coleman in March 2017 completing the remainder of

 her sentence. Within weeks of her arrival, Officer Palomares began stalking Ms.

 Watson telling her that they needed to talk privately or she was going to be in

 trouble. In August 2017, Palomares told Ms. Watson it was time to have their talk

 and instructed her to go to his release and detain office near the visitation room.

 Once in his private office, Palomares told Ms. Watson that it was time to “play

 nice” or she could lose her camp status. He then proceeded to show Ms. Watson a

 google map view of her mother’s house in Clairmont, Florida where her 6-year-old

 son lives. Palomares explained that he “knew all about” Ms. Watson and




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 encouraged her to “play nice” or bad things could happen to her family. Palomares

 gave Ms. Watson the google map print out which she possesses to this day.

                                         101.

       Ms. Watson was terrified of Palomares and managed to stay clear of him for

 several months. Finally, in October 2017, Palomares caught Ms. Watson in the

 hallway between F1 and F2 and pushed her into an open closet. He placed his

 radio and keys on the table and kept the lights off to avoid detection. Palomares

 took his pants down and instructed Ms. Watson to do the same. He then had

 sexual intercourse with her but could not keep or maintain his penis in her vagina.

 Palomares became frustrated and instructed Ms. Watson to “suck his dick.” Ms.

 Watson then performed oral sex on Palomares in the closet and he ejaculated into

 her mouth forcing her to swallow his semen. Palomares insulted Ms. Watson by

 telling her she did not know how to “suck dick” and that Ms. Watson should be

 grateful that Palomares was giving her attention.

                                         102.

       In January 2018, immigration authorities came to Coleman Prison Camp and

 transferred Ms. Watson to a holding facility before she was deported back to her

 home country of Panama. Prior to her transfer, Ms. Watson attempted to give

 notice of the rape to officials by placing a hand-written note from “Inmate Karen”

 into the grievance box and then delivering a second-handwritten note with her full


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 name to a female employee in the administrative office. While in the holding

 facility, Ms. Watson was placed in contact with Sergeant Harvey (Florida PREA

 Coordinator) and was also interviewed via telephone by Lieutenant DeCamilla.

 None of these officials offered Ms. Watson any assistance but Lieutenant

 DeCamilla did apologize to her for “what happened” stating that we know there is

 a problem with Officer Palomares.

                                        103.

       Ms. Watson also began psychological therapy with Dr. Sally Haynes before

 being deported back to Panama. Dr. Haynes concluded that Ms. Watson exhibited

 symptoms of trauma, PTSD, and intrusive memories as a result of the rape. Since

 her arrival in Panama, Ms. Watson suffers from extreme depression, PTSD and is

 suicidal.

                                        104.

       Ms. Watson did not consent or give permission to Palomares to touch her or

 engage in any sexual activity. Ms. Watson demands compensation from the

 United States of America for the sexual assault, harassment and rape that occurred

 while she was incarcerated at Coleman Prison Camp, including damages for pain

 and suffering, psychological trauma, and physical trauma in an amount to be

 determined at trial.




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                               CARLEANE BERMAN

                                        105.

       Ms. Berman arrived at Coleman in March 2017 to complete the remainder of

 her prison sentence. Shortly after her arrival, Officers Palomares, Vann and

 Phillips began making sexually suggestive comments to her and engaged in a

 pattern of sexual harassment. The harassment quickly evolved into sexual assault

 as Officers Palomares, Vann and Phillips coerced, intimated and demanded that

 Ms. Berman engage in all types of sexual activities with each of them including

 oral sex, intercourse, and group sex with Ms. Flowers. These instances of non-

 consensual, sexual abuse occurred countless times throughout the entirety of her

 incarceration at Coleman with Officers Palomares, Vann and Phillips taking turns

 as the lead assailant of the week.

                                        106.

       Ms. Berman was afraid to report these instances of sexual abuse as Officers

 Palomares, Vann and Phillips had each threatened her with reprisal, punishment

 and transfer. Ms. Berman demands compensation from the United States of

 America for the sexual assault, harassment and rape that occurred while she was

 incarcerated at Coleman Prison Camp, including damages for pain and suffering,

 psychological trauma, and physical trauma in an amount to be determined at trial.




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                               MIRANDA FLOWERS

                                        107.

       Ms. Flowers arrived at Coleman in May 2017 to complete the remainder of

 her prison sentence. Shortly after her arrival, Officers Palomares, Vann and

 Phillips began making sexually suggestive comments to her and engaged in a

 pattern of sexual harassment. The harassment quickly evolved into sexual assault

 as Officers Palomares, Vann and Phillips coerced, intimated and demanded that

 Ms. Flowers engage in all types of sexual activities with each of them including

 oral sex, intercourse, and group sex with Ms. Berman. These instances of non-

 consensual, sexual abuse occurred countless times throughout the entirety of her

 incarceration at Coleman with Officers Palomares, Vann and Phillips taking turns

 as the lead assailant of the week.

                                        108.

       Ms. Flowers was afraid to report these instances of sexual abuse as Officers

 Palomares, Vann and Phillips had each threatened her with reprisal, punishment

 and transfer. Ms. Flowers demands compensation from the United States of

 America for the sexual assault, harassment and rape that occurred while she was

 incarcerated at Coleman Prison Camp, including damages for pain and suffering,

 psychological trauma, and physical trauma in an amount to be determined at trial.




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                                    JUDI ALOE

                                         109.

       Ms. Aloe arrived at Coleman in December 2016 to serve out the remainder

 of her prison sentence. Beginning in 2017, Officer Campbell began making

 sexually suggestive comments to Ms. Aloe and engaged in a pattern of sexual

 harassment. Over time, the harassment from Officer Campbell evolved into sexual

 assault and rape as he coerced, intimidated and forced Ms. Aloe to engage in non-

 consensual sexual intercourse and oral sex while locked alone in storage rooms

 with no cameras.

                                         110.

       Ms. Aloe was also sexually harassed and assaulted by Officer Palomares.

 Officer Palomares began by making sexually suggestive comments to Ms. Aloe

 including sexual activities that he desired her to perform. Officer Palomares

 became more aggressive and groped, grabbed and fondled Ms. Aloe’s breasts and

 genital area on a routine basis. On more than one occasion, Officer Palomares’

 fingers penetrated Ms. Aloe’s vagina.

                                         111.

       Ms. Aloe was afraid to report these instances of sexual abuse as Officers

 Campbell and Palomares had each threatened her with reprisal, punishment and

 transfer. Ms. Aloe demands compensation from the United States of America for


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 the sexual assault, harassment and rape that occurred while she was incarcerated at

 Coleman Prison Camp, including damages for pain and suffering, psychological

 trauma, and physical trauma in an amount to be determined at trial.

                                       COUNT I

                                   NEGLIGENCE

                                          112.

        Plaintiffs incorporate by reference the allegations set forth in paragraphs 1-

 111 of this Complaint for Damages as if fully set forth herein.

                                          113.

        The Coleman Management Team, the FCI Tallahassee Management Team

 and the Prison Investigative Agencies owed a duty to Plaintiffs while incarcerated

 at the Coleman Prison Camp or FCI Tallahassee to “protect public safety by

 ensuring that federal offenders serve their sentences of imprisonment in facilities

 that are safe, humane, cost efficient and appropriately secure” as mandated by the

 BOP.

                                          114.

        The Coleman Management Team, the FCI Tallahassee Management Team

 and the Prison Investigative Agencies breached their duties to Plaintiffs by

 negligently supervising, managing and retaining the Offending Officers during

 Plaintiffs’ incarceration at the Coleman Prison Camp and FCI Tallahassee.


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                                         115.

       The Coleman Management Team, the FCI Tallahassee Management Team

 and the Prison Investigative Agencies breached their duties to Plaintiffs by

 providing the Offending Officers with unrestricted and unsupervised one-on-one

 access to Plaintiffs while incarcerated at the Coleman Prison Camp and FCI

 Tallahassee despite knowledge of the Offending Officers’ past sexual abuse and

 harassment of female inmates.

                                         116.

       The Coleman Management Team, the FCI Tallahassee Management Team

 and the Prison Investigative Agencies breached their duties to Plaintiffs by creating

 a system where victims of sexual abuse and harassment are punished for reporting

 the sexual misconduct of prison staff by transfer to more secure facilities, removal

 from educational and vocational programs, placement in special housing units, loss

 of early release rights, detrimental write-ups and loss of work privileges.

                                         117.

       The Coleman Management Team, the FCI Tallahassee Management Team

 and the Prison Investigative Agencies breached their duties to Plaintiffs under

 PREA as follows:

            • Section 115.11 – failing to enforce zero tolerance policy
            • Section 115.13 – failing to supervise and monitor (video
              surveillance) one-on-one inmate/officer contact
            • Section 115.15 – permitting improper cross-gender pat downs
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            • Section 115.17 – hiring, promoting and retaining officers who “may”
              have had improper sexual contact
            • Section 115.43 – punishing sex victims with involuntary segregated
              housing, loss of privileges and work permits
            • Section 115.61 – failing to report suspicion of sexual abuse
            • Section 115.67 – failing to protect inmates from retaliation after
              reporting abuse
            • Section 115.76 – failing to discipline staff for sexual misconduct

                                          118.

       As a direct and proximate cause of the negligence outlined above, the

 Coleman Management Team, the FCI Tallahassee Management Team and the

 Prison Investigative Agencies caused damage to Plaintiffs including psychological

 trauma, emotional distress, depression, physical trauma and pain and suffering.

                                          119.

       Plaintiffs are entitled to damages from the United States of America under

 the Federal Tort Claims Act for the negligence of the Coleman Management Team,

 the FCI Tallahassee Management Team and the Prison Investigative Agencies in

 an amount to be determined at trial.

                                        COUNT II

                            ASSAULT AND BATTERY

                                          120.

       Plaintiffs incorporate by reference the allegations set forth in paragraphs 1-

 119 of this Complaint for Damages as if fully set forth herein.



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                                         121.

         Officer Palomares, acting within the course and scope of his employment

 with the BOP as an investigative or law enforcement official, engaged in the

 intentional assault and battery of Rachelle Beaubron, through unwanted, non-

 consensual sexual abuse and harassment as detailed in paragraphs 51-57 herein.

 Officer Palomares caused damage to Ms. Beaubron including psychological

 trauma, emotional distress, depression, physical trauma and pain and suffering for

 which the United States of America is liable under the Federal Tort Claims Act in

 an amount to be determined at trial.

                                         122.

         Officer Phillips, acting within the course and scope of his employment with

 the BOP as an investigative or law enforcement official, engaged in the intentional

 assault and battery of Kristen Goduto, through unwanted, non-consensual sexual

 abuse and harassment as detailed in paragraphs 58-63 herein. Officer Phillips

 caused damage to Ms. Goduto including psychological trauma, emotional distress,

 depression, physical trauma and pain and suffering for which the United States of

 America is liable under the Federal Tort Claims Act in an amount to be determined

 at trial.




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                                        123.

       Officers Urdialez and Vann, acting within the course and scope of their

 employment with the BOP as investigative or law enforcement officials, engaged

 in the intentional assault and battery of Kara Guggino, through unwanted, non-

 consensual sexual abuse and harassment as detailed in paragraphs 64-78 herein.

 Officers Urdialez and Vann caused damage to Ms. Guggino including

 psychological trauma, emotional distress, depression, physical trauma and pain and

 suffering for which the United States of America is liable under the Federal Tort

 Claims Act in an amount to be determined at trial.

                                        124.

       Officers Palomares and Phillips, acting within the course and scope of their

 employment with the BOP as investigative or law enforcement officials, engaged

 in the intentional assault and battery of Sara Hoehn, through unwanted, non-

 consensual sexual abuse and harassment as detailed in paragraphs 79-84 herein.

 Officers Palomares and Phillips caused damage to Ms. Hoehn including

 psychological trauma, emotional distress, depression, physical trauma and pain and

 suffering for which the United States of America is liable under the Federal Tort

 Claims Act in an amount to be determined at trial.




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                                        125.

       Officer Palomares, acting within the course and scope of his employment

 with the BOP as an investigative or law enforcement official, engaged in the

 intentional assault and battery of April Johnson, through unwanted, non-

 consensual sexual abuse and harassment as detailed in paragraphs 85-88 herein.

 Officer Palomares caused damage to Ms. Johnson including psychological trauma,

 emotional distress, depression, physical trauma and pain and suffering for which

 the United States of America is liable under the Federal Tort Claims Act in an

 amount to be determined at trial.

                                        126.

       Officers Palomares and Campbell, acting within the course and scope of

 their employment with the BOP as investigative or law enforcement officials,

 engaged in the intentional assault and battery of Terry Nagy-Phillips, through

 unwanted, non-consensual sexual abuse and harassment as detailed in paragraphs

 89-93 herein. Officers Palomares and Campbell caused damage to Ms. Nagy-

 Phillips including psychological trauma, emotional distress, depression, physical

 trauma and pain and suffering for which the United States of America is liable

 under the Federal Tort Claims Act in an amount to be determined at trial.




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                                         127.

       Officers Palomares, Campbell and Phillips, acting within the course and

 scope of their employment with the BOP as investigative or law enforcement

 officials, engaged in the intentional assault and battery of Ann Ursiny, through

 unwanted, non-consensual sexual abuse and harassment as detailed in paragraphs

 94-99 herein. Officers Palomares, Campbell and Phillips caused damage to Ms.

 Ursiny including psychological trauma, emotional distress, depression, physical

 trauma and pain and suffering for which the United States of America is liable

 under the Federal Tort Claims Act in an amount to be determined at trial.

                                         128.

       Officer Palomares, acting within the course and scope of his employment

 with the BOP as an investigative or law enforcement official, engaged in the

 intentional assault and battery of Karen Watson, through unwanted, non-

 consensual sexual abuse and harassment as detailed in paragraphs 100-104 herein.

 Officer Palomares caused damage to Ms. Watson including psychological trauma,

 emotional distress, depression, physical trauma and pain and suffering for which

 the United States of America is liable under the Federal Tort Claims Act in an

 amount to be determined at trial.




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                                        129.

       Officers Palomares, Vann and Phillips, acting within the course and scope of

 their employment with the BOP as investigative or law enforcement officials,

 engaged in the intentional assault and battery of Carleane Berman, through

 unwanted, non-consensual sexual abuse and harassment as detailed in paragraphs

 105-106 herein. Officers Palomares, Vann and Phillips caused damage to Ms.

 Berman including psychological trauma, emotional distress, depression, physical

 trauma and pain and suffering for which the United States of America is liable

 under the Federal Tort Claims Act in an amount to be determined at trial.

                                        130.

       Officers Palomares, Vann and Phillips, acting within the course and scope of

 their employment with the BOP as investigative or law enforcement officials,

 engaged in the intentional assault and battery of Miranda Flowers, through

 unwanted, non-consensual sexual abuse and harassment as detailed in paragraphs

 107-108 herein. Officers Palomares, Vann and Phillips caused damage to Ms.

 Flowers including psychological trauma, emotional distress, depression, physical

 trauma and pain and suffering for which the United States of America is liable

 under the Federal Tort Claims Act in an amount to be determined at trial.




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                                         131.

       Officers Campbell and Palomares, acting within the course and scope of

 their employment with the BOP as investigative or law enforcement officials,

 engaged in the intentional assault and battery of Judi Aloe, through unwanted,

 non-consensual sexual abuse and harassment as detailed in paragraphs 109-111

 herein. Officers Campbell and Palomares caused damage to Ms. Aloe including

 psychological trauma, emotional distress, depression, physical trauma and pain and

 suffering for which the United States of America is liable under the Federal Tort

 Claims Act in an amount to be determined at trial.

                                     COUNT III

                            FALSE IMPRISONMENT

                                         132.

       Plaintiffs incorporate by reference the allegations set forth in paragraphs 1-

 131 of this Complaint for Damages as if fully set forth herein.

                                         133.

       Officer Palomares, acting within the course and scope of his employment

 with the BOP as an investigative or law enforcement official, unlawfully detained

 and deprived Rachelle Beaubron of her liberty and freedom against her will and

 consent, without legal authority or necessity, and for the sole purpose of engaging

 in non-consensual sexual abuse and harassment as detailed in paragraphs 51-57


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 herein. Officer Palomares caused damage to Ms. Beaubron including

 psychological trauma, emotional distress, depression, physical trauma and pain and

 suffering for which the United States of America is liable under the Federal Tort

 Claims Act in an amount to be determined at trial.

                                         134.

       Officer Phillips, acting within the course and scope of his employment with

 the BOP as an investigative or law enforcement official, unlawfully detained and

 deprived Kristen Goduto of her liberty and freedom against her will and consent,

 without legal authority or necessity, and for the sole purpose of engaging in non-

 consensual sexual abuse and harassment as detailed in paragraphs 58-63 herein.

 Officer Phillips caused damage to Ms. Goduto including psychological trauma,

 emotional distress, depression, physical trauma and pain and suffering for which

 the United States of America is liable under the Federal Tort Claims Act in an

 amount to be determined at trial.

                                         135.

       Officers Urdialez and Vann, acting within the course and scope of their

 employment with the BOP as investigative or law enforcement officials,

 unlawfully detained and deprived Kara Guggino of her liberty and freedom against

 her will and consent, without legal authority or necessity, and for the sole purpose

 of engaging in non-consensual sexual abuse and harassment as detailed in


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 paragraphs 64-78 herein. Officers Urdialez and Vann caused damage to Ms.

 Guggino including psychological trauma, emotional distress, depression, physical

 trauma and pain and suffering for which the United States of America is liable

 under the Federal Tort Claims Act in an amount to be determined at trial.

                                         136.

       Officers Palomares and Phillips, acting within the course and scope of their

 employment with the BOP as investigative or law enforcement officials,

 unlawfully detained and deprived Sara Hoehn of her liberty and freedom against

 her will and consent, without legal authority or necessity, and for the sole purpose

 of engaging in non-consensual sexual abuse and harassment as detailed in

 paragraphs 79-84 herein. Officers Palomares and Phillips caused damage to Ms.

 Hoehn including psychological trauma, emotional distress, depression, physical

 trauma and pain and suffering for which the United States of America is liable

 under the Federal Tort Claims Act in an amount to be determined at trial.

                                         137.

       Officer Palomares, acting within the course and scope of his employment

 with the BOP as an investigative or law enforcement official, unlawfully detained

 and deprived April Johnson of her liberty and freedom against her will and

 consent, without legal authority or necessity, and for the sole purpose of engaging

 in non-consensual sexual abuse and harassment as detailed in paragraphs 85-88


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 herein. Officer Palomares caused damage to Ms. Johnson including psychological

 trauma, emotional distress, depression, physical trauma and pain and suffering for

 which the United States of America is liable under the Federal Tort Claims Act in

 an amount to be determined at trial.

                                             138.

       Officers Palomares and Campbell, acting within the course and scope of

 their employment with the BOP as investigative or law enforcement officials,

 unlawfully detained and deprived Terry Nagy-Phillips of her liberty and freedom

 against her will and consent, without legal authority or necessity, and for the sole

 purpose of engaging in non-consensual sexual abuse and harassment as detailed in

 paragraphs 89-93 herein. Officers Palomares and Campbell caused damage to Ms.

 Nagy-Phillips including psychological trauma, emotional distress, depression,

 physical trauma and pain and suffering for which the United States of America is

 liable under the Federal Tort Claims Act in an amount to be determined at trial.

                                         139.

       Officers Palomares, Campbell and Phillips, acting within the course and

 scope of their employment with the BOP as investigative or law enforcement

 officials, unlawfully detained and deprived Ann Ursiny of her liberty and freedom

 against her will and consent, without legal authority or necessity, and for the sole

 purpose of engaging in non-consensual sexual abuse and harassment as detailed in


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 paragraphs 94-99 herein. Officers Palomares, Campbell and Phillips caused

 damage to Ms. Ursiny including psychological trauma, emotional distress,

 depression, physical trauma and pain and suffering for which the United States of

 America is liable under the Federal Tort Claims Act in an amount to be determined

 at trial.

                                         140.

         Officer Palomares, acting within the course and scope of his employment

 with the BOP as an investigative or law enforcement official, unlawfully detained

 and deprived Karen Watson of her liberty and freedom against her will and

 consent, without legal authority or necessity, and for the sole purpose of engaging

 in non-consensual sexual abuse and harassment as detailed in paragraphs 100-104

 herein. Officer Palomares caused damage to Ms. Watson including psychological

 trauma, emotional distress, depression, physical trauma and pain and suffering for

 which the United States of America is liable under the Federal Tort Claims Act in

 an amount to be determined at trial.

                                         141.

         Officers Palomares, Vann and Phillips, acting within the course and scope of

 their employment with the BOP as investigative or law enforcement officials,

 unlawfully detained and deprived Carleane Berman of her liberty and freedom

 against her will and consent, without legal authority or necessity, and for the sole


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 purpose of engaging in non-consensual sexual abuse and harassment as detailed in

 paragraphs 105-106 herein. Officers Palomares, Vann and Phillips caused damage

 to Ms. Berman including psychological trauma, emotional distress, depression,

 physical trauma and pain and suffering for which the United States of America is

 liable under the Federal Tort Claims Act in an amount to be determined at trial.

                                         142.

       Officers Palomares, Vann and Phillips, acting within the course and scope of

 their employment with the BOP as investigative or law enforcement officials,

 unlawfully detained and deprived Miranda Flowers of her liberty and freedom

 against her will and consent, without legal authority or necessity, and for the sole

 purpose of engaging in non-consensual sexual abuse and harassment as detailed in

 paragraphs 107-108 herein. Officers Palomares, Vann and Phillips caused damage

 to Ms. Flowers including psychological trauma, emotional distress, depression,

 physical trauma and pain and suffering for which the United States of America is

 liable under the Federal Tort Claims Act in an amount to be determined at trial.

                                         143.

       Officers Campbell and Palomares, acting within the course and scope of

 their employment with the BOP as investigative or law enforcement officials,

 unlawfully detained and deprived Judi Aloe of her liberty and freedom against her

 will and consent, without legal authority or necessity, and for the sole purpose of


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 engaging in non-consensual sexual abuse and harassment as detailed in paragraphs

 109-111 herein. Officers Campbell and Palomares caused damage to Ms. Aloe

 including psychological trauma, emotional distress, depression, physical trauma

 and pain and suffering for which the United States of America is liable under the

 Federal Tort Claims Act in an amount to be determined at trial.

                                     COUNT IV

         INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                                         144.

       Plaintiffs incorporate by reference the allegations set forth in paragraphs 1-

 143 of this Complaint for Damages as if fully set forth herein.

                                         145.

       Officer Palomares, acting within the course and scope of his employment

 with the BOP as an investigative or law enforcement official, engaged in the

 intentional infliction of emotional distress of Rachelle Beaubron through

 unwanted, non-consensual sexual abuse and harassment as detailed in paragraphs

 51-57 herein. Officer Palomares’ conduct was (1) intentional and reckless with

 knowledge that emotional distress would likely result, (2) outrageous and went

 beyond all bounds of decency to be tolerated in a civilized community, (3) the

 direct and proximate cause of the emotional distress endured by Ms. Beaubron, and




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 (4) severe and damaging for which the United States of America is liable under the

 Federal Tort Claims Act in an amount to be determined at trial.

                                        146.

       Officer Phillips, acting within the course and scope of his employment with

 the BOP as an investigative or law enforcement official, engaged in the intentional

 infliction of emotional distress of Kristen Goduto through unwanted, non-

 consensual sexual abuse and harassment as detailed in paragraphs 58-63 herein.

 Officer Phillips’ conduct was (1) intentional and reckless with knowledge that

 emotional distress would likely result, (2) outrageous and went beyond all bounds

 of decency to be tolerated in a civilized community, (3) the direct and proximate

 cause of the emotional distress endured by Ms. Goduto, and (4) severe and

 damaging for which the United States of America is liable under the Federal Tort

 Claims Act in an amount to be determined at trial.

                                        147.

       Officers Urdialez and Vann, acting within the course and scope of their

 employment with the BOP as investigative or law enforcement officials, engaged

 in the intentional infliction of emotional distress of Kara Guggino through

 unwanted, non-consensual sexual abuse and harassment as detailed in paragraphs

 64-78 herein. Officer Urdialez’ and Officer Vann’s conduct was (1) intentional and

 reckless with knowledge that emotional distress would likely result, (2) outrageous


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 and went beyond all bounds of decency to be tolerated in a civilized community,

 (3) the direct and proximate cause of the emotional distress endured by Ms.

 Guggino, and (4) severe and damaging for which the United States of America is

 liable under the Federal Tort Claims Act in an amount to be determined at trial.

                                        148.

       Officers Palomares and Phillips, acting within the course and scope of their

 employment with the BOP as investigative or law enforcement officials, engaged

 in the intentional infliction of emotional distress of Sara Hoehn through unwanted,

 non-consensual sexual abuse and harassment as detailed in paragraphs 79-84

 herein. Officer Palomares’ and Officer Phillips’ conduct was (1) intentional and

 reckless with knowledge that emotional distress would likely result, (2) outrageous

 and went beyond all bounds of decency to be tolerated in a civilized community,

 (3) the direct and proximate cause of the emotional distress endured by Ms. Hoehn,

 and (4) severe and damaging for which the United States of America is liable

 under the Federal Tort Claims Act in an amount to be determined at trial.

                                        149.

       Officer Palomares, acting within the course and scope of his employment

 with the BOP as an investigative or law enforcement official, engaged in the

 intentional infliction of emotional distress of April Johnson through unwanted,

 non-consensual sexual abuse and harassment as detailed in paragraphs 85-88


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 herein. Officer Palomares’ conduct was (1) intentional and reckless with

 knowledge that emotional distress would likely result, (2) outrageous and went

 beyond all bounds of decency to be tolerated in a civilized community, (3) the

 direct and proximate cause of the emotional distress endured by Ms. Johnson, and

 (4) severe and damaging for which the United States of America is liable under the

 Federal Tort Claims Act in an amount to be determined at trial.

                                         150.

       Officers Palomares and Campbell, acting within the course and scope of

 their employment with the BOP as investigative or law enforcement officials,

 engaged in the intentional infliction of emotional distress of Terry Nagy-Phillips

 through unwanted, non-consensual sexual abuse and harassment as detailed in

 paragraphs 89-93 herein. Officer Palomares’ and Officer Campbell’s conduct was

 (1) intentional and reckless with knowledge that emotional distress would likely

 result, (2) outrageous and went beyond all bounds of decency to be tolerated in a

 civilized community, (3) the direct and proximate cause of the emotional distress

 endured by Ms. Nagy-Phillips, and (4) severe and damaging for which the United

 States of America is liable under the Federal Tort Claims Act in an amount to be

 determined at trial.




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                                         151.

       Officers Palomares, Campbell and Phillips, acting within the course and

 scope of their employment with the BOP as investigative or law enforcement

 officials, engaged in the intentional infliction of emotional distress of Ann Ursiny

 through unwanted, non-consensual sexual abuse and harassment as detailed in

 paragraphs 94-99 herein. Officer Palomares’, Officer Campbell’s and Officer

 Phillips’ conduct was (1) intentional and reckless with knowledge that emotional

 distress would likely result, (2) outrageous and went beyond all bounds of decency

 to be tolerated in a civilized community, (3) the direct and proximate cause of the

 emotional distress endured by Ms. Ursiny, and (4) severe and damaging for which

 the United States of America is liable under the Federal Tort Claims Act in an

 amount to be determined at trial.

                                         152.

       Officer Palomares, acting within the course and scope of his employment

 with the BOP as an investigative or law enforcement official, engaged in the

 intentional infliction of emotional distress of Karen Watson through unwanted,

 non-consensual sexual abuse and harassment as detailed in paragraphs 100-104

 herein. Officer Palomares’ conduct was (1) intentional and reckless with

 knowledge that emotional distress would likely result, (2) outrageous and went

 beyond all bounds of decency to be tolerated in a civilized community, (3) the


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 direct and proximate cause of the emotional distress endured by Ms. Watson, and

 (4) severe and damaging for which the United States of America is liable under the

 Federal Tort Claims Act in an amount to be determined at trial.

                                         153.

       Officers Palomares, Vann and Phillips, acting within the course and scope of

 their employment with the BOP as investigative or law enforcement officials,

 engaged in the intentional infliction of emotional distress of Carleane Berman

 through unwanted, non-consensual sexual abuse and harassment as detailed in

 paragraphs 105-106 herein. Officer Palomares’, Officer Vann’s and Officer

 Phillips’ conduct was (1) intentional and reckless with knowledge that emotional

 distress would likely result, (2) outrageous and went beyond all bounds of decency

 to be tolerated in a civilized community, (3) the direct and proximate cause of the

 emotional distress endured by Ms. Berman, and (4) severe and damaging for which

 the United States of America is liable under the Federal Tort Claims Act in an

 amount to be determined at trial.

                                         154.

       Officers Palomares, Vann and Phillips, acting within the course and scope of

 their employment with the BOP as investigative or law enforcement officials,

 engaged in the intentional infliction of emotional distress of Miranda Flowers

 through unwanted, non-consensual sexual abuse and harassment as detailed in


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 paragraphs 107-108 herein. Officer Palomares’, Officer Vann’s and Officer

 Phillips’ conduct was (1) intentional and reckless with knowledge that emotional

 distress would likely result, (2) outrageous and went beyond all bounds of decency

 to be tolerated in a civilized community, (3) the direct and proximate cause of the

 emotional distress endured by Ms. Berman, and (4) severe and damaging for which

 the United States of America is liable under the Federal Tort Claims Act in an

 amount to be determined at trial.

                                         155.

       Officers Campbell and Palomares, acting within the course and scope of

 their employment with the BOP as investigative or law enforcement officials,

 engaged in the intentional infliction of emotional distress of Judi Aloe through

 unwanted, non-consensual sexual abuse and harassment as detailed in paragraphs

 109-111 herein. Officer Campbell’s and Officer Palomares’ conduct was (1)

 intentional and reckless with knowledge that emotional distress would likely result,

 (2) outrageous and went beyond all bounds of decency to be tolerated in a civilized

 community, (3) the direct and proximate cause of the emotional distress endured

 by Ms. Aloe, and (4) severe and damaging for which the United States of America

 is liable under the Federal Tort Claims Act in an amount to be determined at trial.




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       WHEREFORE, Plaintiffs requests that the Court:

       1) Grant judgment in favor of Plaintiffs on their claims for Negligence,

          Assault and Battery, False Imprisonment, and Intentional Infliction of

          Emotional Distress;

       2) Award damages to Plaintiffs in amounts to be determined at trial;

       3) Grant Plaintiffs a jury trial on all claims triable by jury; and

       4) Grant such other and further relief the Court deems just and proper.



 Respectfully submitted this 22nd day of June 2020.


                                         /s/ Bryan E. Busch
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